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                   IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 LAURA MULLEN, individually and on                  Case No. 1:18-cv-1465
 behalf of all others similarly situated,
                                                    Honorable Matthew F. Kennelly
          Plaintiff,

 v.

 GLV, INC., d/b/a SPORTS
 PERFORMANCE VOLLEYBALL CLUB
 and GREAT LAKES CENTER, an Illinois
 corporation, RICKY BUTLER, an individual,
 and CHERYL BUTLER, an individual,

          Defendants.

                          MOTION FOR LEAVE TO WITHDRAW
                        AS COUNSEL OF RECORD FOR PLAINTIFF

         Pursuant to Local Rule 83.17, Plaintiff Laura Mullen respectfully moves this Court to

grant Sydney M. Janzen leave to withdraw as counsel of record for Plaintiff and the Class in the

above-captioned matter. In support of this Motion, Plaintiff states as follows:

         1.      As of February 28, 2020, attorney Sydney M. Janzen will no longer be working

with the law firm Edelson PC, which represents Plaintiff and the Class in this matter. As such,

Ms. Janzen seeks leave to withdraw her appearance on behalf of Plaintiff and the Class.

         2.      Although Ms. Janzen will no longer be working with Edelson PC and will no

longer represent Plaintiff and the Class in this action, Plaintiff and the Class will continue to be

represented by other attorneys at Edelson PC, including Jay Edelson, Eve-Lynn J. Rapp,

Christopher L. Dore, and Alfred K. Murray II. Therefore, Plaintiff and the Class will not be

prejudiced by Ms. Janzen’s withdrawal.
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         WHEREFORE, Plaintiff respectfully requests that this Court enter an order granting Ms.

Janzen leave to withdraw her appearance as one of the attorneys of record for Plaintiff and the

Class.

                                                    Respectfully submitted,

                                                    LAURA MULLEN, individually and on
                                                    behalf of the class of similarly situated
                                                    individuals,

Dated: February 25, 2020                            By: s/ Sydney M. Janzen
                                                    One of Plaintiff’s Attorneys

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                               CERTIFICATE OF SERVICE

        I hereby certify that on February 25, 2020, I served the above and foregoing by causing
a true and accurate copy of such document to be filed and transmitted to all counsel of record
via the Court’s EM/ECF electronic filing system.


                                              s/ Sydney M. Janzen




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